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              IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF TEXAS, EL PASO DIVISION

     DANIEL VILLEGAS,                     )
                                          )
          Plaintiff,                      )    Case No. 3:15-CV-386
                                          )
                 v.                       )    Hon. David C. Guaderrama
                                          )
     CITY OF EL PASO et al.,              )    Hon. Leon Schydlower
                                          )
          Defendants.                     )

              PLAINTIFF DANIEL VILLEGAS’S SURREPLY TO
         DEFENDANT CITY OF EL PASO’S REPLY IN SUPPORT OF ITS
            MOTION FOR SUMMARY JUDGMENT [DKT. 348, 386]

         Unable to rebut Plaintiff on the merits, the City instead accuses Plaintiff of

committing a “switcheroo” by failing to plead his failure to train, failure to

discipline, and failure to supervise Monell claims. But these claims are directly

pleaded in Plaintiff’s operative complaint, and Plaintiff has given consistent notice

of the theories and evidence on which he planned to proceed. The City has no

ground to claim surprise, let alone the kind of unfair prejudice that would justify

dismissal of Plaintiff’s Monell claims. And if the Court concludes that repleading is

necessary, the Court should grant Plaintiff leave to amend his complaint to avoid a

miscarriage of justice.

I.       The City Had Notice of Plaintiff’s Monell Claims

         Throughout the litigation—from the Complaint, to Monell discovery, to

expert reports and depositions—Plaintiff has identified the Monell theories and

evidence on which he planned to proceed. The City has no grounds to protest lack of

notice. The City also takes the novel position that Plaintiff was required to replead
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his Complaint to name every piece of evidence he would rely on at summary

judgment. But the City’s attempt to import a fact pleading standard into federal law

has no basis and should be rejected.

       All a complaint must contain is “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To adequately

plead a claim, “[s]pecific facts are not necessary; the statement need only ‘give the

defendant fair notice of what the ... claim is and the grounds upon which it rests.’”

Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007)). There is no “fact pleading” standard in federal court;

instead, “[i]ssues [are] to be defined by discovery, not pleading.” Williams v. WMX

Techs., Inc., 112 F.3d 175, 178 (5th Cir. 1997).

       As articulated at summary judgment, Plaintiff’s Monell theories are: (1) the

City failed to train its officers to exercise care and caution with juveniles, i.e., to

understand juvenile vulnerability and respect juveniles’ rights; (2) the City failed to

investigate and discipline officers for threatening and physically harming juvenile

suspects and violating juvenile policies; and (3) the City encouraged officers to clear

cases at all costs and tolerating dishonesty while deliberately failing to supervise

officers. (Dkt. 367 at 4–5.) Although Plaintiff has distilled his Monell claim into

three theories, all three were properly pleaded in Plaintiff’s Third Amended

Complaint. The Complaint identifies one theory as the City’s failure to train officers

on the need to “exercise care and caution” when engaging with juveniles. (Dkt. 153

¶ 178.) It explains that the Defendant Officers violated juvenile policies in their



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efforts to wrongfully convict Plaintiff. (Id. ¶¶ 48 (Defendant Graves “violated Texas

law governing the treatment of juvenile arrestees), 59 (Defendants “again failed to

follow” that law when arresting Plaintiff), 77 (Defendants did not follow juvenile

law when interrogating Plaintiff). It explains that Plaintiff and his friends were

targeted and vulnerable because of their youth (Id. ¶¶ 45, 71), but the City

nevertheless failed to discipline officers for such conduct or train them to avoid such

misconduct, and those failures caused Plaintiff’s wrongful conviction (Id. ¶¶ 176,

181–83). Likewise, the Complaint states that the Defendants were able to commit

deceit, perjury, and other cover-ups without meaningful supervision and were

encouraged to do so in pursuit of “closing cases no matter what the costs.” (Id.

¶¶ 182–83.)

      Defendants received further notice from the parties’ negotiated Monell

discovery. In support of his Monell claims, Plaintiff requested policies, procedures,

and disciplinary files regarding questioning and interrogations of juvenile

witnesses, and the City agreed to provide those documents. Ex. 1, June 7, 2022

City’s supplemental response to Pl.’s Second RFP’s at ¶¶ 3(c), 4–7. The City agreed

to produce, and did produce, all Internal Affairs files involving allegations regarding

juveniles. Id. at ¶ 7 (City’s Supplemental Response listing categories of IA files to be

produced).

      Experts from both parties provided expert testimony on the theories at issue.

Plaintiff’s experts Dr. Richard Rosenthal and Joseph Allio addressed failures of

juvenile training, failures to discipline misconduct against juveniles, and



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insufficient supervision of integrity issues while encouraging convictions at all

costs. Ex. 2, Rosenthal Report at 2–3, 18–20 (juvenile issues) ; 2, 5–18, 20–24

(integrity issues and convictions-at-all-costs); 24–29 (both); Ex 3, Rosenthal

Rebuttal at 1–3 (integrity issues), 4–9 (juvenile and integrity issues), 10–15

(integrity issues); Ex. 4, Allio Report at, e.g., 7–8, 17, 21, 43, 46–53 (juvenile issues);

9, 41, 53 (integrity issues and convictions-at-all-costs). Defendants deposed Dr.

Rosenthal for more than seven hours of questioning and have had ample

opportunity to explore these opinions.

        Perhaps the best evidence that the City knew of Plaintiff’s theories is that the

City instructed its expert to address them specifically. Its Monell expert Jeffrey

Noble wrote, “[t]here is no evidence of a pervasive, widespread issue in the El Paso

police department of officers failing to follow juvenile policies to the extent that an

officer would believe they could violate the constitutional rights of a juvenile with

impunity . . . .” Ex. 5, Noble Report ¶ 53. Mr. Noble likewise addressed Plaintiff’s

integrity allegations, writing: “I disagree with Mr. Rosenthal’s opinion that the El

Paso Police Department had a practice of failing to investigate allegations of

untruthfulness and that those deficiencies would lead to wrongful convictions.” Id.

¶ 51.

        There was no surprise attack here. The parties developed Monell evidence in

discovery based on theories known to the City and addressed by both parties’

experts. Every piece of evidence relied upon by Plaintiff in response to the City’s

Rule 56 motion was disclosed in discovery. Further, Plaintiff alleged that the City



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was aware of additional incidents of similar misconduct and constitutional

violations; he could not have named the IA files when he so pleaded, because they

had not been produced. (Dkt. 153 ¶ 176.)

       There is no requirement, and the City identifies none, for a plaintiff to amend

his complaint after Monell discovery has been completed to list additional evidence

that has been found consistent with the plaintiff’s pleadings. Nor was Plaintiff

required to plead “legal theories” in his complaint, and the City invites error by

proposing otherwise. See Johnson v. City of Shelby, Miss., 574 U.S. 10, 11–12 (2014)

(holding that pleadings need not specify legal theories); 5 C. Wright & A. Miller,

Federal Practice and Procedure § 1219, p. 277–78 (3d ed. 2004) (“The federal rules

effectively abolish the restrictive theory of the pleadings doctrine, making it clear

that it is unnecessary to set out a legal theory for the plaintiff's claim for relief.”).

Because Plaintiff’s complaint put the City on notice of his theories and the specific

kinds of evidence he would rely on, he can rely on additional evidence of that kind.

Defendants’ citations are not to the contrary. E.g., Bye v. MGM Resorts Int'l, Inc., 49

F.4th 918, 925 (5th Cir. 2022) (plaintiff could not raise claim under new federal

statute for first time at summary judgment); Jackson v. Gautreaux, 3 F.4th 182, 189

(5th Cir. 2021) (rejecting Monell theory regarding failure to train officers to deal

with “mentally unstable individuals” where complaint made no mention of that

issue); Sims v. City of Madisonville, 894 F.3d 632, 643 (5th Cir. 2018) (broad claim

that defendant conspired to violate “constitutionally protected interests” did not

give notice of claim for false and fabricated evidence); Marzett v. Tigner, No. 20-



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30154, 2022 WL 1551895, at *2 (5th Cir. May 17, 2022) (plaintiff could not proceed

on theory of warden’s personal involvement where he had not pleaded such

involvement).

      This leaves only the City’s argument that Plaintiff was obligated to amend

his complaint to name each disciplinary file or piece of evidence he would use to

prove his theories. That is not the rule. At summary judgment, “[t]he formal issues

framed by the pleadings are not determinative . . . and evidentiary matter may be

developed, showing that the party moved against has presented genuine issues of

material fact.” Eastland v. Tenn. Valley Auth., 553 F.2d 364, 370 (5th Cir. 1977); see

also Narvaez v. Wilshire Credit Corp., 757 F. Supp. 2d 621, 627 (N.D. Tex. 2010)

(concluding that “evidentiary material that further develops the allegations” in a

complaint is properly considered at summary judgment). The City had exclusive

possession of its disciplinary files before discovery began, so Plaintiff could not have

pleaded the disciplinary files he would rely on even if he had wanted to. In any case,

all of the Internal Affairs files presented in Plaintiff’s response brief were identified

and addressed in Dr. Rosenthal’s expert report. (Dkt. 367 at 10–11, 15–18, 20–21,

27). Plaintiff also relied on incidents described in his initial complaint. (Dkt. 367-1

¶¶ 52–54, 60–63). These documents were produced in discovery via requests for

production and subpoenas, and the City does not claim otherwise.

      The City claims that it relied on its requests for production to identify the

documents Plaintiff relied on. But although the City propounded requests for

production for documents regarding several paragraphs in Plaintiff’s Complaint, it



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never asked about paragraph 178, which specifically identified the City’s failure to

train officers on the need to “exercise care and caution” when engaging with

juveniles. Ex. 6, Pl.’s Resp. to the City’s First RFP’s; see Dkt. 153 ¶ 178. Moreover,

as Plaintiff stated in his response, he (properly) understood the City not to be

requesting documents already in the City’s possession and control. Id. at 1–2.

Plaintiff also indicated throughout his response that the City would need to

propound timely interrogatories to “identify some specific sub-set of the discovery

record in the case as supporting one of Plaintiff's legal or factual contentions.” E.g.,

id. ¶ 10. The City could have conferred, propounded timely interrogatories, or raised

the issue with the Court if it wanted more specification of the evidence Plaintiff

would rely on, but the City declined to do so. Defendant cannot accuse Plaintiff of

engaging in subterfuge when Plaintiff produced his evidence in discovery, had his

expert explicitly identify all of it, and the City never questioned whether it

understood Plaintiff’s Monell theories.

      In the alternative, if the Court holds that Plaintiff’s Complaint should have

been amended to incorporate the internal affairs files that were the subject of

discovery (and of which the City has long had notice), Plaintiff prays that the Court

grant leave to amend his complaint in the interests of justice consistent with Rule

15(a)(2). As shown by the City’s 28 pages of briefing on the issue, the City has had

opportunity to adequately address the evidence adduced by Plaintiff and would not

be prejudiced by such a motion. (Dkt. 386 at 6–23.)




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II.    Issues Regarding Facts

       Two issues remain regarding facts. First, the City propounded an additional

121 proposed undisputed facts alongside his reply. (Dkt. 386-1.) The Court’s rules

prohibit such a filing. Plaintiff disputes the additional proposed undisputed facts

and asks the Court to either disregard them or to give Plaintiff an opportunity to

respond.

       Second, Plaintiff acknowledges that his brief contained a typo referring to “IA

92-009,” as the City notes. (Dkt. 386 ¶ 39.) As suggested by the preceding

paragraphs, it should instead read “IA 92-174.” (Dkt. 367 at 13.) Plaintiff apologizes

for the error.

                                    Conclusion

       Plaintiff asks the Court to deny the City’s motion for summary judgment, to

disregard the City’s improperly raised proposed undisputed facts, and to take notice

of the correction of the typo mentioned above.

RESPECTFULLY SUBMITTED,

                                        DANIEL VILLEGAS

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                          CERTIFICATE OF SERVICE

       I, Wallace Hilke, an attorney, hereby certify that on June 2, 2023, I filed the
foregoing document using the Court’s CM/ECF system, which effected service on all
counsel of record.

                                              /s/ Wallace Hilke
                                              One of Plaintiff’s Attorneys




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